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 3
                              UNITED STATES DISTRICT COURT
 4                           EASTERN DISTRICT OF CALIFORNIA
 5
 6
     UNITED STATES OF AMERICA,     )
 7                                 )
                    Plaintiff      )                CR F-05-461 OWW
 8                                 )
          v.                       )
 9                                 )
     SEAN MONROE,                  )
10                                 )
                    Defendant      )           ORDER RECALLING WARRANT
11   ______________________________)
12        The above-named defendant having appeared before the Court and
13   having been notified of the future dates in this case,
14        It is hereby ordered that warrant of arrest be recalled.
15   IT IS SO ORDERED.
16   Dated: March 21, 2006                  /s/ Oliver W. Wanger
     emm0d6                            UNITED STATES DISTRICT JUDGE
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